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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

SAMANTHA HIGNELL-STARK, ET CIVIL ACTION
AL.
NO. 19-13773
versus C/W: 22-2991; 23-5000

RELATED TO: ALL CASES

THE CITY OF NEW ORLEANS SECTION “B” (1)

RESPONSE TO INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS

General Objections:

INTRODUCTORY PARAGRAPH:

Pursuant to the Federal Rules of Civil Procedure and the Local Civil Rules of this Court

(together, the “Rules”), the City of New Orleans serves the following Interrogatories and

Request for Production of Documents upon plaintiff, Tina Marquardt, and her counsel of

record, Mr. Edward Washington.
The discovery requests do not identify upon who the discovery is being
propounded. Defendant serves one set of discovery request on two people.
The discovery requests are not directed to a party in violation of FRCP Rule
33 (“‘a_ party may serve on any other party’’). The one discovery request is
directed to multiple persons — Edward Washington and Tina Marquardt.
Therefore, the discovery requests are ambiguous, noncompliant, and it is not
clear on who discovery is propounded on and which individual each

Interrogatory or each Request for Production is being propounded on.

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DEFINITIONS NO. 2:
2. “You,” “Your,” and “Defendant” shall include the plaintiff, Tina Marquardt, and her
attorney, Edward Washington.
The Definition of. “ ‘You,’ ‘Your,’ and ‘Defendant’ “ is ambiguous and
impermissibly Overbroad. It describes the singular you as two persons --
Edward Washington and Tina Marquardt. In addition, it is unknown who “
‘Defendant’ ” applies to.
INSTRUCTION NO. 3:
3. Unless otherwise specified in any of the interrogatories below, these interrogatories
cover the time period from the first interaction between Edward Washington and Tina
Marquardt through the time of the filing of the motion for attorney’s fees filed herein.
“{T]hese interrogatories cover the time period from the first interaction
between Edward Washington and Tina Marquardt” is overbroad as the first
interaction occurred more than 10 years ago when undersigned counsel
assisted Tina Marquardt with a
RESPONSE TO INTERROGATORIES
“INTERROGATORY NO. 1: Identify all persons answering or supplying information used in
answering these Interrogatories.”
Tina Marquardt and Edward Washington.
“INTERROGATORY NO. 2: State the name, address, and business telephone number of each
person who has, claims to have, or who you believe may have knowledge, documents, and/or
information relating to any fact alleged in the pleadings filed in this action, or any fact underlying

the subject matter of this action.”

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Tina Marquardt, 5219 Hawthorne Street, New Orleans, Louisiana.

Edward Washington, 7130 East Renaissance Ct, New Orleans, Louisiana.
INTERROGATORY NO. 3: Describe in detail the nature and substance of the knowledge,
documents, and/or information that you believe the person(s) identified in response to
Interrogatory No. 2 may have.

Objection: Interrogatory Contains Subparts, or is Compound, Conjunctive,

Disjunctive, overbroad, and most of all incomprehensible. Subject to the

objection, the persons identified in No. 2 have an average, reasonable or

normal person’s “nature and substance of the knowledge, documents, and/or
information.”
INTERROGATORY NO. 4: Please explain in detail the billing increment methodology you used
in creating the billing record you filed in this matter.

Simple multiplication and division mathematics. Minutes divided by 60

minutes per hour times number of minutes times hourly rate.

INTERROGATORY NO. 5: What was the fee agreement between you and Tina Marquardt to
represent her in this matter including the scope of the representation and the basis or rate of the fee
and expenses for which Tina Marquardt would be responsible?

See Fee agreement.

INTERROGATORY NO. 6: Please identify how the fee agreement in Interrogatory No. 5 was
communicated to Tina Marquardt.

In person.

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INTERROGATORY NO. 7: Please identify any document that indicates the scope of the
representation and the basis or rate of the fee and expenses for how your services would be billed
to Tina Marquardt.
See Fee Agreement.
INTERROGATORY NO. 8: Please identify any prior instance in which you represented Tina
Marquardt. For each instance, please identify the fee agreement between you and Ms. Marquardt.
Objection:
Undersigned counsel represented Tina Marquardt three or four times over the
past ten years ago. Given the extensive time period, the interrogatory in
overbroad and overburdensome.
Undersigned counsel’s prior representations of Tina Marquardt as far back as
ten years ago are not relevant to defendants defense and proportional to the
needs of opposing Plaintiff’s unremarkable request for attorney fees.
While the issue at stake is important, it is not the case in chief.
The amount in controversy is not extraordinary, but within the range this
court evaluates on a regular basis.
Discovery relative to representation of Plaintiff over the past 10 years is not
important in resolving the issue of attorney fees in the instant matter.
There is likely no likely benefit to be gained from consideration of undersigned
counsel’s prior representation of Plaintiff in matters unrelated to the instant
matter and therefore the balance of the burden or expense of the proposed

discovery outweighs its likely benefit.

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Any nonprivileged matter defendant seeks is irrelevant to defendant’s defense
and proportionately not needed for opposing the instant motion for attorney
fees.
Subject to the Objection:
See Consent Judgment resolving the HUD housing discrimination complaint
and investigation against the City of New Orleans (Marquardt v. City of New
Orleans, CDC No. 2015-392, Marquardt v. City of New Orleans, HUD Case No.
06-15-0731-8 (See Attached Consent Judgment).
Undersigned counsel no longer has a copy of that fee agreement relative to
these two matters. Subsequent representations of Tina Marquardt other than
the instant one, e.g. attorney letters, were de minimis to such an extent that fee
agreements were not executed.
INTERROGATORY NO. 9: Please identify which of the entries in the billing record you submitted
in this matter were necessary to obtain the relief ordered by the Court.
See Rec Doc. 285. _
INTERROGATORY NO. 10: Please identify the carrier and all telephone numbers, for both you
and Marquardt, that were used when communicating between each other.
Objection:
The carrier for undersigned counsel and Tina Marquardt is not relevant to
any party's claim or defense and proportional to the needs of the case.
Subject to the objection: Edward Washington, (504) 258-0808. Tina

Marquardt, (504) 628-2751.

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‘

INTERROGATORY NO. 12: Please identify the name of the software that you use to track time
for which you bill your clients.

Microsoft Word.
INTERROGATORY NO. 13: Please identify what documents you intend to introduce in support
of your motion for attorney’s fees.

Objection: The interrogatory requiring undersigned counsel to identify which

documents it intends to select in prosecuting his case violates the Shelton

attorney-work product privilege test.

Subject to the objection, undersigned counsel has not determined what

documents he intends to introduce. Undersigned counsel may introduce any

documents filled with Plaintiff’s Motion for Attorney Fees. Undersigned

counsel may introduce any documents filed in the record of this matter.
INTERROGATORY NO. 14: Please identify the relevant pleadings that you downloaded on 8/16
as indicated in your billing record.

Objection:

Undersigned counsel’s research constitutes ''documents and tangible things

that are prepared in anticipation of litigation or for trial.'' Federal Rule of

Civil Procedure 26 (b) (3) (A). These documents are relevant to the case in

chief, and are not relevant to a motion for attorney fees. Defendant cannot

show that it has substantial need for these unrelated research materials

downloaded on 8/16, in order to prepare its opposition to the instant motion

for attorney fees. —

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INTERROGATORY NO. 15: What evidence do you have that supports your assertion that you
filed any document on February 1|st as indicated in your billing record?

The document was actually finalized on February 1, 2024 and filed on

February 2, 2024. See Doc Rec. 248.
INTERROGATORY NO. 16. Please provide all evidence supporting your contention that you
“substantially litigated” the matter of McMahon v. CNO as indicated in the affidavit you submit
to the Court. Include any billing records you have for this matter.

Objection:

Defendant is able. to locate and to identify and review the record on the

McMahon case as readily as the responding party can.

Subject to the objection, Plaintiff directs Defendant to the record of the

McMahon vy. City, CDC No. 2010-02196, which he can review for himself and

which contains substantial evidence that the matter was substantially litigated

by undersigned counsel. The records are readily available to Defendant in the

Clerk’s Offices of Civil District Court, the La. 4" Circuit, and the La. Supreme

Court. The request for billing records is improper and irrelevant.
INTERROGATORY NO. 16. Please explain how and why in each instance of billing that was
greater than one hour was rounded to the hour or half hour.?

Objection:

The interrogatory assumes facts (each instance of billing that was greater than

one hour was rounded to the hour or half hour) not in evidence, without basis,

and denied. Therefore, undersigned counsel cannot reply to this interrogatory.

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INTERROGATORY NO. 17. Please indicate the name of any financial institution at which you
maintain operational, trust, and IOLTA accounts in compliance with the Louisiana Rules of
Professional Conduct.

Objection:

This Interrogatory is irrelevant to defendant’s defense of the motion for

attorney fees.
INT ERROGATORY NO. 18: How did you communicate to your client the scope of the
representation and the basis or rate of the fee and expenses for which you bill?

See Fee Agreement.

Orally in person.
INTERROGATORY NO.18: Please indicate why Tina Marquardt was billed for the on the job
training you needed to file documents via the Court’s ECF system.

Objection:

The Interrogatory is propounded for the purpose of harassment.

The interrogatory assumes facts (“‘was billed for the on the job training’’) not

in evidence. Undersigned counsel did not bill for “on the job training’ and

Therefore undersigned counsel is not able to answer the interrogatory.

See Fee Agreement.
INTERROGATORY NO. 19: Please indicate how much Tina Marquardt has paid you for the legal
services you provided in this matter.

$3000.00

RESPONSE TO REQUESTS FOR PRODUCTION

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REQUEST FOR PRODUCTION NO. 1: Please produce a copy of any fee agreements executed
between Tina Marquardt and Edward Washington, IH.
See Fee Agreement.
REQUEST FOR PRODUCTION NO. 2:
Please produce a copy of all documents evidencing payment for any legal services rendered by
Edward Washington, III on behalf of Tina Marquardt.
Objection:
This request is overbroad as undersigned counsel has represented Tina
Marquardt in legal matters for over a 10 year period.
Subject to the Objection, See attached bank record.
REQUEST FOR PRODUCTION NO. 3:
Please produce copies of all monthly statements, invoices or bills submitted to Tina Marquardt for
the legal services rendered by Edward Washington, III in this matter.
None exist.
REQUEST FOR PRODUCTION NO. 4:
All Documents which support or relate to any of your responses to any of City of New Orleans’
Interrogatories propounded above in this case, including all non-privileged Documents reviewed
in connection with preparation of your responses.
Objection:
The request is vague and overbroad.
The Responses to Interrogatories enables Defendant to locate and to identify,

as readily as the responding party can, the documents he seeks to obtain.

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Subject to the Objection, see the documents attached in response this discovery
response, and see Court record in the instant matter.
REQUEST FOR PRODUCTION NO. 5:
All documents which support the billing entries that you included in your motion for attorney’s
fees.
Objection. The Request is vague and overbroad.
Subject to the Objection, See Fee Agreement. See the Court record in the
instant matter.
REQUEST FOR PRODUCTION NO. 6 All documents which support the assertions made in
your affidavit that you filed in support of the motion for attorney’s fees.
Objection:
The Request is Vague and overbroad.
Generally, as opposed to defendant, the assertions made in all of Plaintiff’s
filings contains citations and cited references which enables Defendant to
locate, identify and ascertain, as readily as the responding party can, the
documents he seeks to obtain.
Undersigned counsel’s “documents which support” his work constitutes
‘documents and tangible things that are prepared in anticipation of litigation
or for trial.'' Federal Rule of Civil Procedure 26 (b) (3) (A).
Subject to the Objection, undersigned counsel has no documents “which
support the assertions made in your affidavit that you filed in support of the

motion for attorney’s fees.”

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Undersigned counsel did not file an “affidavit in support of the motion for

attorney’s fees.

Respectfully submitted,

/s/ Edward R. Washington, I
EDWARD R. WASHINGTON, Ill
Trial Counsel

La. Bar No. 21135

The Washington Law Group, LLC
7130 East Renaissance Court

New Orleans, Louisiana 70128
Office | (504) 258-0808

Email | erwashington @ gmail.com
Attorneys Tina Marquardt

/s/ Tina Marquardt
TINA MARQUARDT

CERTIFICATE OF SERVICE

I hereby certify that on this Ist day of July, 2024, I served a copy of the foregoing Motion

on all known counsel of record via email.

/s/ Edward R. Washington, III
EDWARD R. WASHINGTON, II

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THE WASHINGTON LAW GROUP, LLC

7130 E Renaissance Ct., Ste. 100.
NEW ORLEANS, LOUISIANA 70128

TELEPHONE (504) 258-0808
ERWASHINGTON@GMAIL.COM

FEE AGREEMENT AND AUTHORITY TO REPRESENT

I, the undersigned client (hereinafter referred to as "I", "me" or the "Client”), do hereby retain and employ Edward R.
Washington, II, and his law firm (hereinafter referred to as “Attorney"), as my Attorney to represent me in
connection with the following matter:

rental license and use of the property as a short-term rental.

1. ATTORNEY'S FEES. As compensation for legal services, | agree to pay my Attomey as foilows:

Contingency Yes No
(Attorney shall receive the following percentage of the amount recovered before ihe deduction of cosis and expenses
as set forth in Section 2 herein)

% if settled without suit

% in the event suit is filed

% in the event a trial actually starts

% in the event an appeal is filed by any party

It is understood and agreed that this employment is upon a contingency fee basis, and ifno recovery is made, | will not
be indebted to my Attorney for any sum whatsoever as Attorney's Fees. (However, | agree to pay all costs and
expenses as set forth in Section 2 herein, regardless of whether there is any recovery in this matter. In the event ot
recovery. costs and expenses shall be paid out of my share of the recovery.)

Hourly Fee -- No Advance Deposit Yes No
| agree to pay Attorney's Fees at the rate of $___ per hour and paralegal fees at the rate of S _ per hour. |

to pay each Statement within ten (10) days of Attorney's request, Attorney shall have. in addition to other rights, the
right to withdraw as my Attorney based on my failure substantially to fulfill an obligation to Attorney.

Hourly Fee --With Advance Deposit Yes No
I agree to pay Attorney's Fees at the rate of $ per hour. | agree that time is billed in increments a minimum
of 10 minutes. It is understood and agreed that | shall pay my Attorney an initial Advance Deposit of $ _due

upon Attorney's acceptance of this agreement, which deposit shall be applied toward tOhe payment of Attorney's Fees
and costs and expenses. This deposit shall be deposited into Attorney's trust account and Attorney is authorized to pay
Attorney's Fees and costs and expenses out of the existing deposit, at least on a monthly basis. Periodically Attor
shall provide me with itemized Statements for Professional Services Rendered (including costs and expenses). Should
the work performed by my Attorney exceed the amount held in trust, I agree to replenish the Advance Deposit upon
Attorney's request. If i fail to replenish the Advance Deposit each time it is exhausted within ten (10) days of
Attorney's request, or if | neglect to pay Attorney's Fees, costs or expenses outstanding within ten (10) days of
Attorney's request, | agree that. pursuant to this agreement, Attorney shall have. in addition to other rights, the rignt te
withdraw as my Attorney based on my failure substantially to fulfil] an obligation to Attorney,

Deferred Hourly Fee --With Advance Deposit _—_X Yes No
| agree to pay Attorney's Fees at the rate of $450.00 per hour. | agree that time is billed in increments a minnie
10 minutes. It is understood and agreed that | shall pay my Attorney an initial Advance Deposit of $3,060.00 due Lipon

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Attorney's acceptance of this — which deposit shall be applied toward tOhe payment of Attorneys fs
costs and expenses. This deposit shall be deposited into Attorney's trust account and Attorney is authorized
Attorney's Fees and costs and expenses out of the existing deposit, at least on a monthly basis. Peston ney shall defer
requiremen to > replenish the Advanced Pespath of attorney fees ane costs until os matte is  seifle or until this me

uistanding » within ae ( 30) days of Attorney's ‘request, | agree tat acu to this agreer ent. ; Attorney
in addition to other rights, the right to withdraw as my Attorney based on my alco St substantially to

obligation to Attorney.

FlatFee  ——s—s§s§ Yes CUNO

| ayree to pay a flat fee of $

2. COSTS AND EXPENSES. In addition to paying Attorney's Fees. 1 agree to pay all cosis and expeiises i
connection with Attorney's handling of this matter. Costs and expenses shall be billed io me as a are incurre a]
hereby agree to promptly reimburse Attorney. If an advance deposit is being held by Attorney. | ¢
reimburse Attorney for any amount in excess of what is being held in trust. These costs may inc
limited to) the following: long distance telephone charges, photocopying ($.25 per page). posta
Federal Express charges. deposition fees, expert fees, subpoena costs. court costs, sheriff's and :
expenses and investigation fees.

Advance required Yes No

| agree to advance $ for costs and expenses, which amount shall be deposited in ae nex s trust ace C

shall be applied to costs and expenses as they accrue. Should this advance be exhausted, | agree to replenish the
'

advance promptly upon Attorney's request. If] fail to replenish the advance within ten (10) i s of Attorney's request.
Attorney shall have, in addition to other rights, the right to withdraw as my Attorney.

3. INTEREST; ATTORNEY'S FEE FOR ENFORCEMENT. If any Attorney's fees or costs and expenses ure not
paid within ten (10) days of Attorney's mailing of statement to me. | agree to pay interest thereafter on any balance «
at the rate of twelve percent (12%) per annum. | further agree to pay the reasonable attorney's fee of any ¢
employed by Attorney to seek enforcement of this agreement.

4. NO GUARANTEE. | acknowledge that my Attorney has made no promise or guarantee regarding the ouicoric of
my legal matter. In fact, Attorney has advised me that litigation in general is risky, can take a long time, can be vers
costly, and can be very frustrating. | further acknowledge that my Attorney shall have the right to cancel this
agreement and withdraw from this matter if. in Attorney's professional opinion, the matter does not have inerit. | do
not have a reasonably good possibility of recovery. and/or I refuse to follow the recommendations of Attorney. ¢
I fail to abide by the terms of this agreement, and/or if Attorney’s continued representation would result in a vic
of the Rules of Professional Conduct.

5. STATUTORY ATTORNEY'S FEES. In the event of recovery under the provisions of the L angsttone and Harbor
Workers' Compensation Act, or under Louisiana Worker's Compensation laws, or under any other laws which spec
attorney's fees to be paid, then the Attorney's Fees shall be paid in accordance with the maximum allowed by law,

6. CONSENT TO SETTLEMENT. Neither Attorney nor Client may, without the prior written consent of the ob
settle, compromise, release. discontinue or otherwise dispose of this matter. claim or lawsuit.

/ PRIVILEGE. | agree and understand that this contract is intended to and does hereby assign. transfer.
deliver unto Attorney as his/her fee for representation of me in this matter an interest in the claims). th
any recovery therefrom under the terms and conditions aforesaid, in accordance with the provisions ot
Revised Statute 37:218, and that Attorney shall have the privilege afforded by Louisiana Revised Statute

8 ALTERNATIVE DISPUTE RESOLUTION. In the event of any dispute or disagreement concernins
oe 1 agree to submit to arbitration by the Louisiana State Bar Association Lawyer Dispuie Resolutior
Program. | further agree that any award by the arbitrator shall include the costs and expenses of arbitration, includ ay

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attorney's fees actually incurred (if Attorney represents himself/herself, he/she shall record his/her fees and cli res 8 ib
they would otherwise accrue in the representation of a third party). In the event that 1 do not co amply with the
arbitrator's decision and satisfy an award within thirty (30) days of the rendering of a decision and Attorney resorts
judicial enforcement of the award, Attorney shall be entitled to recover as well ten percent (1 10%) of the wh
awarded (plus costs, expenses and attorney's fees) as a penalty in accordance with Louisiana Civil C ‘ode Article

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ale 2

9, ADDITIONAL TERMS. Attorney and Client agree to the following additional terms:

16. ENTIRE AGREEMENT. | have read this agreement in its entirety and | agree to and understand the
conditions set forth herein. | acknowledge that there are no other terms or oral agreements existing between Atlornes
and Client. This agreement may not be amended or modified in any way without the prior written consent of Attorney
and Client.

{ f #
This agreement is executed by me, the undersigned Client, on g |e / a3

CLIENT:

Dann Matgrardt-

Tina Marquardt

A
The foregoing agreement is hereby accepted on H Ie Z3

i

ATTORNEY:

Edward R. Washington, Hl

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Civil District Cou

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rt for the Parish of Orleans

STATE OF LOUISIANA

2015 - 00392

No.

Section. 15-A—

MARQUARDT, TINA

versus
G ADJUSTMENTS ETAL

THE CITY OF NEW ORLEANS BOARD OF ZONIN

Date Case Filed: 1/14/2041 5

OTICE OF SIGNING OF JUDGMENT

NOTICE OF SIGNING Or “=

TO:

edward R Washington Esq 21135
7420 Crowder Boulevard, Snite 300-C
New Orleans LA 70127

Adam J Swensek ESQ
1300 Perdide street, Room 5
New Orleans LA 701
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CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO. 2015-392 DIVISION “A” SECTION NO. 5
TINA MARQUARDT
VERSUS

THE CITY OF NEW ORLEANS BOARD OF ZONING ADJUSTMENTS AND THE
CITY OF NEW ORLEANS

FILED:

DEPUTY CLERK

JOINT MOTION FOR CONSENT JUDGMENT

Upon being informed that the parties have agreed to resolve their disputes through a Consent
Judgment in this matter in accordance with the terms set forth below;

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the City of New
Orleans, upon application by plaintiff and upon finding that all permitting requirements in the Code
of Ordinances relative to single-family dwellings have been satisfied, shall issue such building
permits as may be reasonably necessary to enable 5219 Hawthorne Place and 5221 Hawthorne Place
to be used as separate single-family dwellings on a single lot of record;

If IS HEREBY ORDERED, ADJUDGED AND DECREED that the City of New
Orleans, upon an application by plaintiff and upon finding that all building requiremenis in the Code
of Ordinances relative to single-family dwellings have been satisfied, shall issue such certificates of
occupancy as may be necessary to permit 5219 Hawthorne Place and 5221 Hawthome Place to be
used as separate single-family dwellings on a single lot of record;

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff shall
voluntarily dismiss with prejudice her housing discrimination complaint captioned Marquardl v. City
of New Orleans, HUD Case No. 06-1 5-073 1-8 (the “Discrimination Complaint”) within three days of
the issuance of this Consent Judgment.

It IS FURTHER ORDERED, ADJUDGED AND DECREED that the obligations
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asserted by plainti

to bear its own cost.

New Orleans, Louisiana, this

ON Ea

¢fin this matter be and hereby are DISMISSE

Edward R. Washington, La. Bar No. 21135

7240 Crowder Blvd, Suite 300
New Orleans, Louisiana 70127
Counsel for Plaintiff

D WITH PREJUDICE, each party

Deputy City Attorc)
1300 Perdido Street, Room 5E03
New Orleans. Louisiana 70112

Counsel for Defendant

FPTPAR, Ch
:
pARicil OF ORLEARS
STATE OF LA.

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@) HANCOCK WHITNEY

Transactions Details

Free Bugugess Checking

KKK ee.

Available Balance: a of 06/18/2024
Current Balance: apg - of 06/18/2024

Posting Date 08/30/2022
Transaction Date 08/30/2023
Description MOBILE CHECK DEPOSIT
Transaction Type
T/C
Amourtt $3,000.00
Balance

Front Back

Record Of Deposit

Institution: Hancock Whitney Bank
Date: 8/30/2023 11:59:34 AMPT
Receipt Number:
Deposit Account Number:
Total Transaction Amount:
Deposit Channel: Mobile

.00

about:blank
